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                        Exhibit 1
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INTERNATIONAL CONFERENCE ON HARMONISATION OF TECHNICAL
REQUIREMENTS FOR REGISTRATION OF PHARMACEUTICALS FOR HUMAN USE




                           DRAFT CONSENSUS GUIDELINE




     ASSESSMENT AND CONTROL OF DNA REACTIVE (MUTAGENIC)
       IMPURITIES IN PHARMACEUTICALS TO LIMIT POTENTIAL
                       CARCINOGENIC RISK

                                          M7

                                                                                Min Li

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appropriate ICH Expert Working Group, is transmitted by the ICH Steering Committee to
the regulatory authorities of the three ICH regions (the European Union, Japan and the
USA) for internal and external consultation, according to national or regional procedures.
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                                 Document History

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                        CARCINOGENIC RISK


                                      Draft ICH Consensus Guideline
       Released for Consultation on 6 February 2013, at Step 2 of the ICH Process



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         ASSESSMENT AND CONTROL OF DNA REACTIVE (MUTAGENIC)
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1.        INTRODUCTION

The synthesis of drug substances involves the use of reactive chemicals, reagents,
solvents, catalysts, and other processing aids. As a result of chemical synthesis or
subsequent degradation, impurities reside in all drug substances and associated drug
products. While ICH Q3A(R2): Impurities in New Drug Substances and Q3B(R2):
Impurities in New Drug Products (1, 2) provides guidance for qualification and control
for the majority of the impurities, limited guidance is provided for those impurities that
are DNA reactive. The purpose of this guideline is to provide a practical framework that
can be applied for the identification, categorization, qualification, and control of these
mutagenic impurities to limit potential carcinogenic risk. This guideline is intended to
complement ICH Q3A(R2), Q3B(R2) (Note 1), and ICH M3(R2): Nonclinical Safety
Studies for the Conduct of Human Clinical Trials and Marketing Authorizations for
Pharmaceuticals. (3)
This guideline emphasizes considerations of both safety and quality risk management in
establishing levels of mutagenic impurities that are expected to pose negligible
carcinogenic risk. It outlines recommendations for assessment and control of mutagenic
impurities that reside or are reasonably expected to reside in final drug substance or
product, taking into consideration the intended conditions of human use.

2.        SCOPE OF GUIDELINE

This document is intended to provide guidance for new drug substances and new drug
products during their clinical development and subsequent applications for marketing.
It also applies to new marketing applications and post approval submissions for
marketed products, in both cases only where:
     •    Changes to the drug substance synthesis result in new impurities or increased
          acceptance criteria for existing impurities;
     •    Changes in the formulation, composition or manufacturing process result in new
          degradants or increased acceptance criteria for existing degradants;
     •    Changes in indication or dosing regimen are made which significantly affect the
          acceptable cancer risk level.
The following types of drug substances are not covered in this guideline:
biological/biotechnological, peptide, oligonucleotide, radiopharmaceutical, fermentation
products, herbal products, and crude products of animal or plant origin. Exceptions
would be when products such as biologicals and peptides are chemically synthesized or
modified (e.g., addition of organic chemical linkers, semi-synthetic products). In such
cases an assessment of potential mutagenicity is warranted for chemicals likely to exist
as impurities/degradants in the drug product.
This guideline does not apply to drug substances and drug products intended for
advanced cancer indications as defined in the scope of ICH S9. (4) Additionally, there
may be some cases where a drug substance intended for other indications is itself
genotoxic at therapeutic concentrations and may be expected to be associated with an
increased cancer risk. Exposure to a mutagenic impurity in these cases would not


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significantly add to the cancer risk of the drug substance and impurities could be
controlled at acceptable levels for non-mutagenic impurities.
Excipients used in existing marketed products and flavoring agents are excluded from
this guideline. Application of this guideline to leachables associated with drug product
packaging is not intended, but the safety risk assessment principles outlined in this
guideline for limiting potential carcinogenic risk can be used if warranted. The safety
risk assessment principles of this guideline can be used if warranted for impurities in
excipients that are used for the first time in a drug product and are chemically
synthesized.

3.     GENERAL PRINCIPLES

The focus of this guideline is on DNA reactive substances that have a potential to
directly cause DNA damage when present at low levels leading to mutations and
therefore, potentially causing cancer. This type of mutagenic carcinogen is usually
detected in a bacterial reverse mutation (mutagenicity) assay.            Other types of
genotoxicants that are non-mutagenic typically have thresholded mechanisms (5-9) and
usually do not pose carcinogenic risk in humans at the level ordinarily present as
impurities. Therefore to limit a possible human cancer risk associated with the exposure
to potentially mutagenic impurities, the bacterial mutagenicity assay is used to assess
the mutagenic potential/effect and the need for controls. Structure-based assessments
are useful for predicting bacterial mutagenicity outcomes based upon the established
knowledge base. There are a variety of approaches to conduct this evaluation including a
review of the available literature, and/or computational toxicology assessment.
A Threshold of Toxicological Concern (TTC) concept was developed to define an
acceptable intake for any unstudied chemical that will not pose a risk of carcinogenicity
or other toxic effects. (10-11) For application of a TTC in the assessment of acceptable
limits of mutagenic impurities in drug substances and drug product, a value of 1.5
μg/day corresponding to a theoretical 10-5 excess lifetime risk of cancer, can be justified.
The methods upon which the TTC is based are generally considered very conservative
since they involve a simple linear extrapolation from the dose giving a 50% tumor
incidence (TD50) to a 1 in 106 incidence, using TD50 data for the most sensitive species
and most sensitive site of tumor induction (several “worst case” assumptions). (10) Some
structural groups were identified to be of such high potency that intakes even below the
TTC would theoretically be associated with a potential for a significant carcinogenic risk.
(12-13) This group of high potency mutagenic carcinogens (“cohort of concern”) comprises
aflatoxin-like-, N-nitroso-, and azoxy compounds.
During clinical development, it is expected that control strategies and approaches will be
less developed in earlier phases where overall development experience is limited. This
guideline bases acceptable intakes for mutagenic impurities on established risk
assessment strategies. Acceptable risk during the early development phase is set at a
theoretically calculated level of approximately one additional cancer per million. For
later stages in development and marketed products when efficacy has been shown,
acceptable increased cancer risk is set at a theoretically calculated level of approximately
one in one hundred thousand. These risk levels represent a small theoretical increase in
risk when compared to human overall lifetime incidence of developing any type of cancer,
which is greater than 1 in 3. (14-15) It is noted that established cancer risk assessments
are based on lifetime exposures. Less-than-lifetime exposures both during development
and marketing can have higher acceptable intakes of impurities and still maintain
comparable risk levels. The use of a numerical cancer risk value (1 in 100,000) and its
translation into risk-based doses (TTC) is a highly hypothetical concept that should not


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be regarded as a realistic indication of the actual risk. The TTC concept provides an
estimate of safe exposures for any mutagenic compound. However, exceeding the TTC is
not necessarily associated with an increased cancer risk given the conservative
assumptions employed in the derivation of the TTC value. The most likely increase in
cancer incidence is actually much less than 1 in 100,000. (13) In addition, in cases where
a mutagenic compound is a non-carcinogen in a rodent bioassay, there would be no
predicted increase in cancer risk. Based on these considerations, any exposure to an
impurity that is later identified as a mutagen is not necessarily associated with an
increased cancer risk for patients already exposed to the impurity. A risk assessment
would determine whether any further actions would be taken.
Where a potential risk has been identified for an impurity, an appropriate control
strategy leveraging process understanding and/or analytical controls should be developed
to ensure that mutagenic impurity is at or below the acceptable cancer risk level.
There may be cases when an impurity is also a metabolite of the drug substance. In such
cases, the impurity is considered qualified provided that exposure to the metabolite in
appropriate nonclinical studies of the drug substance is higher than would be achieved
from the impurity in the administered drug substance (ICH Q3A/Q3B).

4.      CONSIDERATIONS FOR MARKETED PRODUCTS

While this guideline is not intended to be applied retrospectively (i.e., to products
marketed prior to adoption of this guideline), some types of post-approval changes
warrant a reassessment of safety relative to mutagenic impurities. This section is
intended to be applied to products marketed prior to, or after, the adoption of this
guideline. Section 8.5 (Lifecycle management) contains additional recommendations for
products marketed after adoption of this guideline.

4.1     Post Approval Changes to                   the   Drug     Substance       Chemistry,
        Manufacturing, and Controls
Post approval submissions involving the drug substance chemistry, manufacturing, and
controls (changes to the route of synthesis, reagents, solvents, process conditions etc.)
should include an evaluation of the potential risk impact associated with mutagenic
impurities. Specifically, changes should be evaluated to determine if the change results
in any new mutagenic impurities or higher acceptance criteria for existing mutagenic
impurities. Reevaluation of impurities not impacted by the change is not required. For
example, when only a portion of the manufacturing process is changed, the assessment of
risk from mutagenic impurities should be limited to whether any new mutagenic
impurities result from the change, whether any mutagenic impurities formed during the
affected step are increased, and whether any known mutagenic impurities from up-
stream steps are increased. Regulatory submissions associated with such changes
should include a summary of the assessment and if appropriate an updated control
strategy. Changes to site of manufacture would typically not require a reassessment of
mutagenic impurity risk.
When a new drug substance supplier is proposed, evidence that drug substance produced
by this supplier (using same route of synthesis) has been approved for an existing drug
product marketed in the assessor’s region is considered to be sufficient evidence of
acceptable risk/benefit regarding mutagenic impurities and an assessment per this
guideline is not required. If this is not the case, then an assessment per this guideline is
expected.




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4.2    Post Approval Changes to the Drug Product Chemistry, Manufacturing,
       and Controls
Post approval submissions involving the drug product (e.g., change in composition,
manufacturing process, dosage form) should include an evaluation of the potential risk
associated with any new mutagenic degradants or higher acceptance criteria for existing
mutagenic degradants. If appropriate, the regulatory submission would include an
updated control strategy. Reevaluation of the drug substance associated with drug
products is not required or expected provided there are no changes to the drug substance.
Changes to site of manufacture would typically not require a reassessment of mutagenic
impurity risk.

4.3    Changes to the Clinical Use of Marketed Products
Changes to the clinical use of marketed products that typically may require a
reevaluation of the mutagenic impurity limits include a significant increase in clinical
dose, an increase in duration of use (in particular when a mutagenic impurity was
controlled above the lifetime acceptable intake for a previous indication that may no
longer be appropriate for the longer treatment duration associated with the new
indication), or for a change in indication from a serious or life threatening condition
where higher acceptable intakes were justified (Section 7.5) to an indication for a less
serious condition where the existing impurity acceptable intakes may no longer be
appropriate. Changes to the clinical use of marketed products associated with new
routes of administration or expansion into patient populations that include pregnant
women and/or pediatrics typically would not require a reevaluation, assuming no
changes in daily dose or duration of treatment.

4.4    Alternative Considerations for Marketed Products
Application of this guideline may be warranted to marketed products if there is specific
cause for concern. The existence of impurity structural alerts alone is considered
insufficient to trigger follow-up measures, unless it is a structure in the cohort of concern
(Section 3). However a specific cause for concern would be new relevant impurity hazard
data (classified as Class 1 or 2, Section 6) generated after the overall control strategy and
specifications for market authorization were established. This new relevant impurity
hazard data should be derived from high-quality scientific studies consistent with
relevant regulatory testing guidelines, with data records or reports readily available to
marketing application holders. When the applicant becomes aware of this new relevant
impurity hazard data, an evaluation should be conducted and if it is concluded by the
applicant to affect the acceptable cancer risk/benefit, notification (Section 9) to
regulatory authorities with a proposed contemporary control strategy would be
warranted.

5.     DRUG SUBSTANCE AND DRUG PRODUCT IMPURITY ASSESSMENT

Actual and potential impurities that are likely to arise during the synthesis, work-up,
and storage of a new drug substance and during manufacturing and storage of a new
drug product should be assessed.
The impurity assessment is a two-stage process. Firstly, actual impurities that have
been identified should be considered for their mutagenic potential. In parallel, an
assessment of potential impurities likely to be present in the final drug substance is
carried out to determine if further evaluation of their mutagenic potential is required.
The steps as applied to synthetic impurities and degradants are described in Sections 5.1
and 5.2, respectively.


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5.1     Synthetic Impurities
Actual impurities include those observed in the drug substance above the ICH Q3A
reporting thresholds. Identification of actual impurities is expected when the levels
exceed the identification thresholds outlined by ICH Q3A. It is acknowledged that some
impurities below the identification threshold may also have been identified.
Potential impurities arising from the synthesis of the drug substance could include
starting materials, reagents and intermediates, identified impurities in starting
materials and intermediates, and reasonably expected reaction by-products based on
knowledge of the chemical reactions and conditions involved. Knowledge of the starting
material synthesis, in particular the use of mutagenic reagents is an important factor in
understanding the potential impurities in the starting materials, especially when there
is a reasonable expectation that such impurities may be carried through the synthesis to
the drug substance.
All impurities (actual and potential), where the structures are known, should be
evaluated for mutagenic potential as described in Section 6.

5.2     Degradants
Actual drug substance degradation products include those observed above the ICH Q3A
reporting threshold during storage of the drug substance in the proposed long-term
storage conditions and primary and secondary packaging.            Actual drug product
degradation products include those observed above the ICH Q3B reporting threshold
during storage of the drug product in the proposed long-term storage conditions and
primary and secondary packaging, and also include those impurities that arise during
the manufacture of the drug product. Identification of actual degradation products is
expected when the levels exceed the identification thresholds outlined by ICH Q3A/Q3B.
It is acknowledged that some degradation products below the identification threshold
may also have been identified.
Potential degradants in the drug substance and drug product are those that may be
reasonably expected to form during long term storage conditions. Potential degradants
include those that form above the ICHQ3A/B identification threshold during accelerated
stability studies (e.g., 40°C/75% relative humidity for 6 months) and confirmatory photo-
stability studies as described in ICH Q1B, (16) but are yet to be confirmed in the drug
substance or drug product in the primary packaging.
Knowledge of relevant degradation pathways can be used to help guide decisions on the
selection of potential degradation products to be evaluated for mutagenicity e.g., from
degradation chemistry principles, relevant stress testing studies, and development
stability studies.
Actual and potential degradants likely to be present in the final drug substance or drug
product and where the structure is known should be evaluated for mutagenic potential
as described in Section 6.

5.3     Considerations for Clinical Development
For products in clinical development, the thresholds outlined in ICHQ3A/B do not apply
and it is acknowledged that the thresholds for actual impurities and degradants will
typically be higher than those outlined in ICHQ3A/B.




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6.      HAZARD ASSESSMENT ELEMENTS

Hazard assessment involves an initial analysis of actual and potential impurities by
conducting database and literature searches for carcinogenicity and bacterial
mutagenicity data in order to classify them as Class 1, 2, or 5 according to Table 1. If
data for such a classification are not available, an assessment of Structure-Activity
Relationships (SAR) that focuses on bacterial mutagenicity predictions should be
performed. This could lead to a classification into Class 3, 4, or 5.

Table 1: Impurities Classification with Respect to Mutagenic and Carcinogenic
Potential and Resulting Control Actions (according to Ref. 17 with
modifications)
Class   Definition                                      Proposed action for control
                                                        (details in Section 7)
 1      Known mutagenic carcinogens                     Control at or below compound-
                                                        specific acceptable limit
 2      Known mutagens with                             Control at or      below acceptable
        unknown carcinogenic potential                  limits (generic or adjusted TTC)
        (bacterial mutagenicity positive*,         no
        rodent carcinogenicity data)
 3      Alerting structure, unrelated to the            Control at or below acceptable
        structure of the drug substance;                limits (generic or adjusted TTC) or
        no mutagenicity data.                           do bacterial mutagenicity assay;
                                                        If non-mutagenic = Class 5
                                                        If mutagenic = Class 2
 4      Alerting structure, same alert in drug Treat as non-mutagenic impurity
        substance which has been tested and is
        non-mutagenic
 5      No structural alerts, or alerting structure Treat as non-mutagenic impurity
        with sufficient data to demonstrate lack
        of mutagenicity

*Or other relevant positive mutagenicity data indicative of DNA-reactivity related induction of
gene mutations (e.g., positive findings in in vivo gene mutation studies)

A computational toxicology assessment should be performed using (Q)SAR methodologies
that predict the outcome of a bacterial mutagenicity assay. Two (Q)SAR prediction
methodologies that complement each other should be applied. One methodology should
be expert rule-based and the second methodology should be statistical-based. (Q)SAR
models utilizing these prediction methodologies should follow the validation principles
set forth by the Organisation for Economic Co-operation and Development (OECD). (18)
The outcome of any computer system-based analysis should be reviewed with the use of
expert knowledge in order to provide additional supportive evidence on relevance of any
positive or negative prediction and to elucidate underlying reasons in case of conflicting
results.
The absence of structural alerts from two complementary (Q)SAR methodologies (expert
rule-based and statistical) is sufficient to conclude that the impurity is of no concern, and
no further testing is required (Class 5 in Table 1).



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To follow up on a structural alert (Class 3 in Table 1), a bacterial mutagenicity assay can
be applied. An appropriately conducted negative bacterial mutagenicity assay (Note 2)
would overrule any structure-based concern, and no further genotoxicity assessments
would be required (Note 1). These impurities (Class 5 in Table 1) should be considered
as a non-mutagenic impurity. A positive bacterial mutagenicity result would warrant
further hazard assessment and/or control measures (Class 2 in Table 1). Alternatively
adequate control measures in the case of a positive structural alert alone could be
applied in place of bacterial mutagenicity testing.
An impurity with a structural alert that is shared with the drug substance (e.g., same
structural alert in the same position and environment in the impurity and the drug
substance) can be considered as non-mutagenic (Class 4 in Table 1) if the testing of the
drug substance in the bacterial mutagenicity assay was negative.
Further hazard assessment of an impurity with a positive bacterial mutagenicity result
(Class 2 in Table 1) may be appropriate for instance, when levels of the impurity cannot
be controlled at an appropriate acceptable limit. In order to understand the relevance of
the bacterial mutagenicity assay result under in vivo conditions, it is recommended that
the impurity is tested in an in vivo gene mutation assay. The selection of other in vivo
genotoxicity assays should be scientifically justified based on knowledge of the
mechanism of action of the impurity and its organ site of contact (Note 3). In vivo
studies should be designed taking into consideration existing guidance as per ICH
S2(R1). (19) Negative results in the appropriate in vivo assay may support setting
impurity limits in excess of the acceptable limits.

7.      RISK CHARACTERIZATION

As a result of hazard assessment described in Section 6, each impurity will be assigned
to one of the five classes in Table 1. For impurities belonging into Classes 1, 2, and 3
(Class 3 only if presence of a structural alert is not followed up in a bacterial
mutagenicity assay), the principles of risk characterization used to derive acceptable
intakes are described in this section.

7.1     Generic TTC-based Acceptable Intakes
A TTC-based acceptable intake of a mutagenic impurity of 1.5 µg per person per day is
considered to be associated with a negligible risk (theoretical excess cancer risk of <1 in
100,000 over a lifetime of exposure) and can in general be used for most pharmaceuticals
as a default to derive an acceptable limit for control. This generic approach would
usually be used for mutagenic impurities present in pharmaceuticals for long-term
treatment (> 10 years) and where no carcinogenicity data are available (Classes 2 and 3).

7.2     Acceptable Intakes Based on Compound-Specific Risk Assessments

7.2.1 Mutagenic Impurities with Positive Carcinogenicity Data (Class 1 in
       Table 1)
Compound-specific risk assessments to derive acceptable intakes should be applied
instead of the TTC-based acceptable intakes where sufficient carcinogenicity data exist.
For a known mutagenic carcinogen, a compound-specific acceptable intake can be
calculated based on carcinogenic potency and linear extrapolation as a default approach.
Alternatively, other established risk assessment practices such as those used by
international regulatory bodies may be applied either to calculate acceptable intakes or
to use already existing values published by regulatory bodies (Note 4).




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Compound-specific calculations for acceptable intakes can be applied case-by-case for
impurities which are chemically similar to a known carcinogen compound class (class-
specific acceptable intakes) provided that a rationale for chemical similarity and
supporting data can be demonstrated (Note 5).

7.2.2 Mutagenic Impurities with Evidence for a Practical Threshold
The existence of mechanisms leading to a dose response that is non-linear or has a
practical threshold is increasingly recognized, not only for compounds that interact with
non-DNA targets but also for DNA-reactive compounds, whose effects may be modulated
by, for example, rapid detoxification before coming into contact with DNA, or by effective
repair of induced damage. The regulatory approach to such compounds can be based on
the identification of a critical No-Observed Effect Level (NOEL) and use of uncertainty
factors (ICH Q3C(R5)) (20) when data are available (Note 6).
The acceptable intakes derived from compound-specific risk assessments can be adjusted
for shorter term use in the same proportions as defined in the following sections (Section
7.3.1 and 7.3.2).

7.3    Acceptable Intakes in Relation to LTL Exposure
The TTC-based acceptable intake of 1.5 µg/day is considered to be protective for a
lifetime of daily exposure. To address Less-Than-Lifetime (LTL) exposures to mutagenic
impurities in pharmaceuticals, an approach is applied in which the acceptable
cumulative lifetime dose (1.5 µg/day x 25,550 days = 38.3 mg) is uniformly distributed
over the total number of exposure days during LTL exposure. (21) This would allow
higher daily intake of mutagenic impurities than would be the case for lifetime exposure
and still maintain comparable risk levels for daily and non-daily treatment regimens. In
the case of intermittent (non-daily) dosing, the acceptable intake will be capped by the
total cumulative dose or the maximum acceptable intake (i.e., 120 µg/day), whichever is
lower. Table 2 illustrates the acceptable intakes for LTL to lifetime exposures for clinical
development and marketing.

Table 2: Acceptable Intakes for an Individual Impurity
  Duration                                               >10
     of         <1          >1 - 12       >1 - 10     years to
 treatment     month        months         years      lifetime
    Daily
   intake        120           20           10          1.5
  [µg/day]

7.3.1 Clinical Development
Using this LTL concept, acceptable intakes of mutagenic impurities are recommended for
limited treatment periods during clinical development of up to 1 month, 1 to 12 months
and more than one year up to completion of Phase III clinical trials (Table 2). These
adjusted acceptable intake values maintain a 10-6 risk level in early clinical development
when benefit has not yet been established and a 10-5 risk level for later stages in
development (Note 7).
An alternative approach to the strict use of an adjusted acceptable intake for any
mutagenic impurity could be applied for Phase I clinical trials of up to 14 days. Only
impurities that are known mutagenic carcinogens (Class 1) and known mutagens of
unknown carcinogenic potential (Class 2), as well as impurities in the cohort of concern


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chemical class, should be controlled (see Section 8) to acceptable limits as described in
Section 7. All other impurities would be treated as non-mutagenic impurities. This
includes impurities which contain structural alerts (Class 3), which alone would not
trigger action for an assessment for this limited Phase I duration.

7.3.2 Marketed Products
Standard risk assessments of known carcinogens operate under the assumption that
cancer risk increases as a function of cumulative dose. Thus, cancer risk of a continuous
low dose over a lifetime would be equivalent to the cancer risk associated with an
identical cumulative exposure averaged over a shorter duration or lifetime average daily
dose. This assumption has been advocated by other regulatory agencies (22) and
proposed elsewhere. (21)
For marketed product treatments with cumulative intakes of less than 10 years
(continuous or total of intermittent treatments), the acceptable intake can be adjusted
to <10 µg/day.      For marketed products with much shorter treatment duration
indications, the acceptable intake values of Table 2 can be applied. The proposed intakes
would all comply with the principle of not exceeding a 10-5 cancer risk level (Note 7).

7.4         Acceptable Intakes for Multiple Mutagenic Impurities
The TTC-based acceptable intakes should be applied to each individual impurity. When
there are multiple mutagenic impurities specified on the drug substance specification,
total mutagenic impurities should be limited as described in Table 3 for clinical
development and marketed products:
Table 3: Acceptable Intakes for Total Impurities

  Duration
     of            < 1 month      >1 - 12                      >10 years
                                               >1 - 10 years   to lifetime
 treatment                        months
    Daily
   intake             120            60           10 (30*)          5
  [µg/day]
*For clinical development up to 3 years. Similar principles could be applied to marketed products
with justification.

Only impurities that are specified on the drug substance specification contribute to the
calculation for total. Degradants which form in the drug product would be controlled
individually and a total limit would not be applied. The above approach is supported by
a detailed analysis of the effect of combining multiple impurities that are in similar or
different chemical classes and by the conservative assumptions incorporated into the
TTC, and the low likelihood of synergistic carcinogenic effects at very low mutagenic
impurity levels. (23)

7.5         Exceptions and Flexibility in Approaches
      •     Higher acceptable intakes may be justified when human exposure to the impurity
            will be much greater from other sources e.g., food, or endogenous metabolism
            (e.g., formaldehyde).
      •     Case-by-case exceptions to the use of the appropriate acceptable intake can be
            justified in cases of severe disease, reduced life expectancy, late onset but chronic
            disease, or with limited therapeutic alternatives.



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      •A disproportionally high number of members of some structural classes of
       mutagens, i.e., aflatoxin-like-, N-nitroso-, and azoxy structures, of which some
       may occur as impurities in pharmaceuticals, display extremely high carcinogenic
       potency. Acceptable intakes for these high-potency carcinogens would likely be
       significantly lower than the acceptable intakes defined in this guideline. While
       the principles of this guideline can be used, a case-by-case approach using e.g.,
       carcinogenicity data from closely related structures, if available, usually needs to
       be developed to justify acceptable intakes for pharmaceutical development and
       marketed products.
The above risk approaches are applicable to all routes of administration and no
corrections to acceptable intakes are generally warranted. Exceptions to consider may
include situations where data justifies route-specific concerns that need to be evaluated
case-by-case. These approaches are also applicable to all patient populations based upon
the conservative nature of the risk approaches being applied.

8.        CONTROL

A control strategy is a planned set of controls, derived from current product and process
understanding that assures process performance and product quality (ICH Q10). (24) A
control strategy can include, but is not limited to, the following:
      •Controls on material attributes (including raw materials, starting materials,
       intermediates, reagents, solvents, primary packaging materials);
   • Facility and equipment operating conditions;
   • Controls implicit in the design of the manufacturing process;
   • In-process controls (including in-process tests and process parameters);
   • Controls on drug substance and drug product (e.g., release testing).
When an impurity has been characterized as mutagenic, it is important to develop a
control strategy that assures that the level of this impurity in the drug substance and
drug product is below the acceptable limit. A thorough knowledge of the chemistry
associated with the drug substance manufacturing process, the drug product
manufacturing process, along with an understanding of the overall stability of the drug
substance and drug product is fundamental to developing the appropriate controls.
Developing a strategy to mitigate mutagenic impurities in the drug product is consistent
with risk management processes identified in ICH Q9. (25) A control strategy that is
based on product and process understanding and utilisation of risk management
principles will lead to a combination of process design and control and appropriate
analytical testing, which can also provide an opportunity to shift controls upstream and
minimize the need for end-product testing.

8.1       Control of Process Related Impurities
There are 4 potential approaches to development of a control strategy for drug substance:
Option 1
Include a test for the impurity in the drug substance specification with an acceptance
criterion at or below the acceptable limit using an appropriate analytical procedure. It is
considered possible to apply periodic (verification) testing per ICH Q6A. (26)
Option 2
Include a test for the impurity in the specification for a raw material, starting material
or intermediate, or as an in-process control, with an acceptance criterion at or below the
acceptable limit using an appropriate analytical procedure.


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Option 3
Include a test for the impurity in the specification for a raw material, starting material
or intermediate, or as an in-process control, with an acceptance criterion above the
acceptable limit using an appropriate analytical procedure coupled with demonstrated
understanding of fate and purge and associated process controls that assure the level in
the drug substance is below the acceptable limit without the need for any additional
testing.
Option 4
Understanding of process parameters and impact on residual impurity levels (including
fate and purge knowledge) with sufficient confidence that the level of the impurity in the
drug substance will be below the acceptable limit such that no analytical testing is
needed for this impurity.

8.2     Discussion of Control Approaches
A control strategy that relies on process controls in lieu of analytical testing (Option 4)
can be appropriate if the process chemistry and process parameters that impact levels of
mutagenic impurities are understood and the risk of an impurity residing in the final
drug substance or drug product above the acceptable limit is determined to be negligible.
Elements of a scientific risk assessment/chemistry rationale should include an
assessment of various factors that influence the fate and purge of an impurity including
chemical reactivity, solubility, volatility, ionizability and any physical process steps
designed to remove impurities. This option is especially useful for those impurities that
are inherently unstable (e.g., thionyl chloride that reacts rapidly and completely with
water) or for those impurities that are introduced early in the synthesis and are
effectively purged.
For Option 4 approaches where justification based on scientific principles alone is not
considered sufficient, as well as for Option 3 approaches, analytical data to support the
control approach is expected. This could include as appropriate information on the
structural changes to the impurity caused by downstream chemistry (“fate”), analytical
data on pilot scale batches, and in some cases, laboratory scale studies with intentional
addition of the impurity (“spiking studies”). In these cases, it is important to
demonstrate that the fate/purge argument for the impurity is robust and will
consistently assure a negligible probability of an impurity residing in the final drug
substance above the acceptable limit. Where the purge factor is based on developmental
data, it is important to address the expected scale-dependence or independence. In the
case that the small scale model used in the development stage is considered to not
represent the commercial scale, confirmation of suitable control in pilot scale and/or
initial commercial batches is necessary. The need for data from pilot/commercial batches
is influenced by the magnitude of the purge factor calculated from laboratory or pilot
scale data, point of entry of the impurity, and knowledge of downstream process purge
points.
If Options 3 and 4 cannot be justified, then a test for the impurity on the specification for
a raw material, starting material or intermediate, or as an in-process control (Option 2)
for drug substance (Option 1) at the acceptable limit should be included. For impurities
introduced in the last synthetic step, an Option 1 control approach would be expected
unless otherwise justified.
The application of “As Low As Reasonably Practicable” (ALARP) is not necessary if the
level of the mutagenic impurity is below acceptable limits. Similarly, it is not necessary
to demonstrate that alternate routes of synthesis have been explored.



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In cases where control efforts cannot reduce the level of the mutagenic impurity to below
the acceptable limit and levels are as low as reasonably practical, a higher limit may be
justified based on a risk/benefit analysis.

8.3    Considerations for Periodic Testing
The above options include situations where a test is recommended to be included in the
specification, but where routine measurement for release of every batch may not be
necessary. This approach, referred to as periodic or skip testing in ICH Q6A could also
be called “Periodic Verification Testing.” This approach may be appropriate when it can
be demonstrated that processing subsequent to impurity formation/introduction clears
the impurity. It should be noted that allowance of Periodic Verification Testing is
contingent upon use of a process that is under a state of control (i.e., produces a quality
product that consistently meets specifications and conforms to an appropriately
established facility, equipment, processing, and operational control regimen). If upon
testing, the drug substance or drug product fails an established specification, the drug
producer should immediately revert to full testing (i.e., testing of every batch for the
attribute specified) until the cause of the failure has been conclusively determined,
corrective action has been implemented, and the process is again documented to be in a
state of control. As noted in ICH Q6A, regulatory authorities should be notified of a
periodic verification test failure to evaluate the risk/benefit of previously released
batches that were not tested.

8.4    Control of Degradants
For a potential degradant that has been characterized as mutagenic, it is important to
understand if the degradation pathway is relevant to the drug substance and drug
product manufacturing processes and/or their proposed packaging and storage
conditions. A well-designed accelerated stability study (e.g., 40°C/75% relative humidity,
6 months) in the proposed packaging, with appropriate analytical procedures is
recommended to determine the relevance of the potential degradation product.
Alternatively, well designed kinetically equivalent shorter term stability studies at
higher temperatures in the proposed commercial package may be used to determine the
relevance of the degradation pathway prior to initiating longer term stability studies.
This type of study would be especially useful to understand the relevance of those
potential degradants that are based on knowledge of potential degradation pathways but
not yet observed in the product.
Based on the result of these accelerated studies, if it is anticipated that the degradant
will form at levels approaching the acceptable limit under the proposed packaging and
storage conditions, then efforts to control formation of the degradant is expected. The
extent of degradation can often be lowered through formulation development and/or
packaging designed to protect from moisture, light, or oxygen. Monitoring for the drug
substance or drug product degradant in long term primary stability studies at the
proposed storage conditions (in the proposed commercial pack) will generally be expected
in these cases. The determination of the need for a specification for the mutagenic
degradant will generally depend on the results from these stability studies.
If it is anticipated that formulation development and packaging design options are
unable to control mutagenic degradant levels to less than the acceptable limit and levels
are as low as reasonably practicable, a higher limit can be justified based on a
risk/benefit analysis.




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8.5     Lifecycle Management
This section is intended to apply to those products approved after the issuance of this
guideline.
The quality system elements and management responsibilities described in ICH Q10 are
intended to encourage the use of science-based and risk-based approaches at each
lifecycle stage, thereby promoting continual improvement across the entire product
lifecycle. Product and process knowledge should be managed from development through
the commercial life of the product up to and including product discontinuation.
The development and improvement of a drug substance or drug product manufacturing
process usually continues over its lifecycle. Manufacturing process performance,
including the effectiveness of the control strategy, should be periodically evaluated.
Knowledge gained from commercial manufacturing can be used to further improve
process understanding and process performance and to adjust the control strategy.
Any proposed change to the manufacturing process should be evaluated for the impact on
the quality of drug substance and drug product. This evaluation should be based on
understanding of the manufacturing process and should determine if appropriate testing
to analyze the impact of the proposed changes is required. Additionally, improvements
in analytical procedures may lead to identification of an existing impurity or a new
impurity. In those cases the new structure would be assessed for mutagenicity as
described in this guideline.
Throughout the lifecycle of the product, it will be important to reassess if testing is
needed when intended or unintended changes occur in the process. This applies when
there is no routine monitoring at the acceptable limit (Option 3 or Option 4 control
approaches), or when applying periodic rather than batch-by-batch testing. The
appropriate testing to analyze the impact of the proposed change could include, but is not
limited to, an assessment of current and potential new impurities and an assessment of
the test procedures’ abilities to detect any new impurities. This testing should be
performed at an appropriate point in the manufacturing process.
In some cases, the use of statistical process control and trending of process
measurements that are important for an Option 3 or Option 4 approach can be useful for
continued suitability and capability of processes to provide adequate control on the
impurity.
All changes should be subject to internal change management processes as part of the
quality system. (24) Changes to information filed and approved in a dossier should be
reported to regulatory authorities in accordance with regional regulations and
guidelines.

8.6     Considerations for Clinical Development
It is recognized that product and process knowledge increases over the course of
development and therefore it is expected that data to support control strategies in the
clinical development trial phases will be less than at the marketing registration phase.
A risk-based approach based on process chemistry fundamentals is encouraged to
prioritize analytical efforts on those impurities with the highest likelihood of being
present in the drug substance or drug product. Analytical data may not be needed to
support early clinical development when the likelihood of an impurity being present is
low, but in a similar situation analytical data may be needed to support the control
approach for the marketing application.         It is also recognized that commercial
formulation design occurs later in clinical development and therefore efforts associated
with drug product degradants will be limited in the earlier phases.

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9.        DOCUMENTATION

Information relevant to the application of this guideline should be provided at the
following stages:

9.1       Clinical Development Trial Applications
      •   It is expected that the number of structures assessed for mutagenicity, and the
          collection of analytical data will both increase throughout the clinical
          development period.
      •   For Phase I clinical trials of 14 days or less, a summary of efforts to mitigate risks
          of mutagenic impurities focused on Class 1 and 2 impurities and those in the
          cohort of concern as outlined in Section 7 should be included.
      •   For other clinical development trials including Phase I studies of longer than 14
          days, a list of the structures assessed by (Q)SAR should be included, and any
          Class 1, 2 or 3 actual and potential impurities should be described along with
          plans for control. The in silico (Q)SAR systems used to perform the assessments
          should be stated.
      •   Chemistry arguments may be appropriate instead of analytical data for potential
          impurities that present a low likelihood of being present as described in Section
          8.6.

9.2       Common Technical Document (Marketing Application)
      •   For all actual and potential process related impurities and degradants where
          assessments according to this guideline are conducted, the mutagenic impurity
          classification and rationale for this classification should be provided:
          o This would include the results and description of in silico (Q)SAR systems
              used, and as appropriate, supporting information to arrive at the overall
              conclusion for Class 4 and 5 impurities.
          o When bacterial mutagenicity assays were performed on impurities, all results
              and the study reports should be provided for any bacterial mutagenicity-
              negative impurities.
      •   Justification for the proposed specification and the approach to control should be
          provided (e.g., ICH Q11 example 5b). (27) For example, this information could
          include the acceptable intake, the location and sensitivity of relevant routine
          monitoring. For Option 3 and Option 4 control approaches,, a summary of
          knowledge of the purge factor, and identification of factors providing control (e.g.,
          process steps, solubility in wash solutions, etc.) is important.

NOTES

Note 1     The ICH M7 Guideline recommendations provide a state-of-the-art approach for
           assessing the potential of impurities to induce point mutations and ensure that
           such impurities are controlled to safe levels so that below or above the
           qualification threshold no further qualification for mutagenic potential is
           required. This includes the initial use of (Q)SAR tools to predict bacterial
           mutagenicity. In cases where the amount of the impurity exceeds 1 mg daily
           dose for chronic administration, evaluation of genotoxic potential as
           recommended in ICH Q3A/B could be considered.

Note 2     To assess the mutagenic potential of impurities, a single bacterial mutagenicity
           assay can be carried out with a fully adequate protocol according to ICH S2(R1)
           and OECD 471 guidelines. The assays are expected to be performed in

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         compliance with Good Laboratory Practices (GLP) regulations; however, it is
         noted that the test article may not be prepared or analyzed in compliance with
         GLP regulations. Lack of full GLP compliance does not necessarily mean that
         the data cannot be used to support clinical trials and marketing authorizations.
         Such deviations should be described in the study report. In some cases, the
         selection of bacterial tester strains may be limited to those proven to be
         sensitive to an alert. For degradants that are not feasible to isolate or
         synthesize or when compound quantity is limited, it may not be possible to
         achieve the highest test concentrations recommended for an ICH-compliant
         bacterial mutagenicity assay according to the current testing guidelines. In this
         case, bacterial mutagenicity testing could be carried out using a miniaturized
         assay format with proven high concordance to the ICH-compliant assay to
         enable testing at higher concentrations with justification. Confidence in
         detection of mutagens requires testing concentrations at levels ≥250 µg/plate.
         (28)

Note 3   Tests to Investigate the in vivo Relevance of in vitro Mutagens (Positive
         Bacterial Mutagenicity)
                                             Mechanistic data to justify choice of test
            In vivo test
                                                         as fit-for-purpose
   Transgenic mutation assays • For any bacterial mutagenicity positive. Justify
                                        selection of assay tissue/organ
   Pig-a assay                      • For directly acting mutagens (bacterial mutagenicity
   (blood)                              positive without S9)*
   Micronucleus test                • For directly acting mutagens (bacterial mutagenicity
   (blood or bone marrow)              positive without S9) and compounds known to be
                                       clastogenic*
   Rat liver Unscheduled DNA • In particular for bacterial mutagenicity positive with
   Synthesis (UDS) test                S9 only
                                    • Responsible liver metabolite known
                                                o to be generated in test species used
                                                o to induce bulky adducts
   Comet assay                      • Justification needed (chemical class specific mode of
                                       action to form alkaline labile sites or single-strand
                                       breaks as preceding DNA damage that can potentially
                                       lead to mutations
                                    • Justify selection of assay tissue/organ
   Others                           • With convincing justification
  *For indirect acting mutagens (requiring metabolic activation), justification needed for
  sufficient exposure to metabolite(s)

Note 4   Example of linear extrapolation from the TD50
         It is possible to calculate a compound-specific acceptable intake based on rodent
         carcinogenicity potency data such as TD50 values (doses giving a 50% tumor
         incidence equivalent to a cancer risk probability level of 1:2).           Linear
         extrapolation to a probability of 1 in 100,000 (i.e., the accepted lifetime risk
         level used) is achieved by simply dividing the TD50 by 50,000. This procedure is
         similar to that employed for derivation of the TTC.
         Calculation example: Ethylene oxide
         TD50 values for ethylene oxide according to the Carcinogenic Potency Database
         (29) are 21.3 mg/kg body weight/day (rat) and 63.7 mg/kg body weight/day


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         (mouse). For the calculation of an acceptable intake, the lower (i.e., more
         conservative) value of the rat is used.
         To derive a dose to cause tumors in 1 in 100,000 animals, divide by 50,000:
         21.3 mg/kg ÷ 50,000 = 0.42 µg/kg
         To derive a total human daily dose:
         0.42 µg/kg/day x 50 kg body weight = 21.3 µg/person/day
         Hence, a daily life-long intake of 21.3 µg ethylene oxide would correspond to a
         theoretical cancer risk of 10-5 and therefore be an acceptable intake when
         present as an impurity in a drug substance.
         Alternative methods and published regulatory limits for cancer risk assessment
         As an alternative of using the most conservative TD50 value from rodent
         carcinogenicity studies irrespective of its relevance to humans, an in-depth
         toxicological expert assessment of the available carcinogenicity data can be done
         in order to initially identify the findings (species, organ etc) with highest
         relevance to human risk assessment as a basis for deriving a reference point for
         linear extrapolation. Also, in order to better take into account directly the
         shape of the dose-response curve, a benchmark dose such as a benchmark dose
         lower confidence limit 10% (BMDL10, an estimate of the lowest dose which is
         95% certain to cause no more than a 10% cancer incidence in rodents) may be
         used instead of TD50 values as a numerical index for carcinogenic potency.
         Linear extrapolation to a probability of 1 in 100,000 (i.e., the accepted lifetime
         risk level used) is then achieved by simply dividing the BMDL10 by 10,000.
         Compound-specific acceptable intakes can also be derived from published
         recommended values from internationally recognized bodies such as World
         Health Organization (WHO, International Program on Chemical Safety [IPCS]
         Cancer Risk Assessment Programme) (30) and others using the appropriate 10-5
         lifetime risk level. In general, a regulatory limit that is applied should be based
         on the most current and scientifically supported data and/or methodology.

Note 5   A compound-specific calculation of acceptable intakes for mutagenic impurities
         may be applied for mutagenic impurities (without carcinogenicity data) which
         are structurally similar to a chemically-defined class of known carcinogen. For
         example, factors that are associated with the carcinogenic potency of alkyl
         halides have been identified (31) and can be used to modify the safe acceptable
         intake of monofunctional alkyl halides, a group of alkyl halides commonly used
         in drug synthesis.        Compared to multifunctional alkyl halides the
         monofunctional compounds are much less potent carcinogens with TD50 values
         ranging from 36 to 1810 mg/kg/day (n=15; epichlorohydrin with two distinctly
         different functional groups is excluded). (31) A TD50 value of 36 mg/kg/day can
         thus be used as a still very conservative class-specific potency reference point
         for calculation of acceptable intakes for monofunctional alkyl halides. This
         potency level is at least ten-fold lower than the TD50 of 1.25 mg/kg/day
         corresponding to the default lifetime TTC (1.5 µg/day) and therefore justifies
         lifetime and less-than-lifetime daily intakes for monofunctional alkyl halides
         ten times the default ones.

Note 6   Some published data give reliable experimental evidence for (practical)
         thresholds in the dose response for compounds that are positive for bacterial
         mutagenicity. This includes examples of thresholds in error-free repair capacity


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         of the mutagenic DNA-ethylating agent ethyl methanesulfonate (EMS) (32) or
         similarly for methylating agents. (33) Thresholds involving metabolic
         detoxification processes also appear to exist for 1, 3-butadiene. (34) Further, a
         threshold for oxidative DNA damage associated with the buildup of hemosiderin
         has been shown for p-chloroaniline hydrochloride. (35) Aside of mechanistic
         considerations supporting an experimentally observed threshold, it is important
         that a proper statistical analysis supports this assumption as well. (36)

Note 7   Establishing less-than-lifetime acceptable intakes for mutagenic impurities in
         pharmaceuticals has precedent in the establishment of the staged TTC limits
         for clinical development. (17) The calculation of less-than-lifetime Acceptable
         Intakes (AI) is predicated on the principle of Haber’s rule, a fundamental
         concept in toxicology where concentration (C) x time (T) = a constant (k).
         Therefore, the carcinogenic effect is based on both dose and duration of
         exposure.
                                                                 ay
                                                               1d




                                                                    38250 µg
          Dose[µg/person/day] given on treatment days




                                                                                                  th
                                                                                                on
                                                                     ay




                                                        10000
                                                                    1d




                                                                                              1m




                                                                                                                                Calculated dose corresp. to 10‐5 cancer risk
                                                                                                             h
                                                                                                          ont
                                                                                                        1m




                                                                                                   1270 µg
                                                        1000
                                                                                                                         ear
                                                                                                                       1y




                                                                         SF: 300‐10x
                                                                                                                                       ear



                                                                                                                            100 µg                  s
                                                         100
                                                                                                                                                 ear
                                                                                                                                     1y




                                                                           120 µg
                                                                                                                                                  y
                                                                                                                                               10



                                                                                                       SF: 60‐5x

                                                                                                                                                                       rs
                                                                                                                            SF: 10‐1x            10 µg
                                                                                                        20 µg                                                      yea
                                                          10
                                                                                                                                                          s


                                                                                                                                                                70
                                                                                                                                                      ear




                                                                                                                                 10 µg
                                                                                                                                                    5y




                                                                                                                                                                   1,5 µg
                                                                                                                                                 SF: 7‐1x
                                                                                Proposed acceptable dose
                                                           1                                                                                          1,5 µg
                                                                      SF: “Safety Factor” (difference (max./min.) between
                                                                                        calculated and proposed doses



                                                                1                      10     30          100                   1000         3650              25500
                                                            1




                                                                                                                     365

                                                                                                Number of treatment days

         Figure 1: Illustration of calculated daily dose of a mutagenic impurity corresponding to
         a theoretical 1:100,000 cancer risk as a function of duration of treatment in comparison
         to the acceptable intake levels as recommended in Section 7.3.

         The solid line in Figure 1 represents the linear relationship between the amount
         of daily intake of a mutagenic impurity corresponding to a 10-5 cancer risk and
         the number of treatment days. The calculation is based on the TTC level as
         applied in this guideline for life-long treatment i.e., 1.5 µg per person per day
         using the formula:
         Less-than-lifetime AI = 1.5 µg x (365 days x 70 years lifetime = 25,550)
                                              Total number of treatment days
         The calculated daily intake levels would thus be 1.5 µg for treatment duration of
         70 years, 10 µg for 10 years, 100 µg for 1 year, 1270 µg for 1 month and

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         approximately 38.3 mg as a single dose, all resulting in the same cumulative
         intake and therefore theoretically in the same cancer risk (1 in 100,000).
         The dashed step-shaped curve represents the actual daily intake levels adjusted
         to less-than-lifetime exposure as recommended in Section 7 of this guideline for
         products in clinical development and marketed products. These proposed levels
         are in general significantly lower than the calculated values thus providing
         safety factors that increases with shorter treatment durations.
         The proposed accepted daily intakes are also in compliance with a 10-6 cancer
         risk level if treatment durations are not longer than 6 months* and are
         therefore applicable in early clinical trials with volunteers/patients where
         benefit has not yet been established. In this case the safety factors as shown in
         the upper graph would be reduced by a factor of 10.


         *At 6 months the calculated dose at a 10-6 risk level would be 20 µg which is identical to
         the recommended accepted dose i.e., there is no extra safety factor; at longer duration
         the theoretical 10-6 risk level would be exceeded.




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GLOSSARY

Acceptable intake:
In the context of this guideline, an intake level that is without appreciable cancer risk.
Acceptable limit:
Maximum acceptable concentration of an impurity in a drug substance or drug product
derived from the acceptable intake and the daily dose of the drug.
Acceptance criterion:
Numerical limits, ranges, or other suitable measures for acceptance of the results of
analytical procedures.
BMDL10:
The lower 95% confidence interval of a Benchmark-dose representing a 10% response
(e.g., tumor response upon lifetime exposure), i.e., the lower 95% confidence interval of a
BMD10. BMD10 is the Benchmark-dose (BMD) associated with a 10% response adjusted
for background.
Control strategy:
A planned set of controls, derived from current product and process understanding that
ensures process performance and product quality. The controls can include parameters
and attributes related to drug substance and drug product materials and components,
facility and equipment operating conditions, in-process controls, finished product
specifications, and the associated methods and frequency of monitoring and control.
Cumulative intake:
The total intake of a substance that a person is exposed to over time.
Degradant:
Degradation product as defined in ICH Q3B.
DNA-reactive:
Substances that have a potential to induce direct DNA damage through chemical
reaction with DNA.
Expert knowledge:
In the context of this guideline, expert knowledge can be generalized as a review of pre-
existing data and the use of any other relevant information to evaluate the accuracy of
an in silico model prediction for mutagenicity.
Genotoxicity:
A broad term that refers to any deleterious change in the genetic material regardless of
the mechanism by which the change is induced.
In-process control:
Checks performed during production to monitor and, if appropriate, to adjust the process
and/or to ensure that the intermediate or drug substance conforms to its specifications.
Mutagenic impurity:
An impurity that has been demonstrated to be mutagenic in an appropriate mutagenicity
test model, e.g., bacterial mutagenicity assay.




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NOEL:
Abbreviation for No-Observed-Effect-Dose (level): The highest dose of substance at
which there are no biologically significant increases in frequency or severity of any
effects in the exposed humans or animals.
Periodic (verification) testing:
Also known as periodic or skip testing in ICH Q6A.
(Q)SAR and SAR:
In the context of this guideline, refers to the relationship between the molecular (sub)
structure of a compound and its mutagenic activity using (Quantitative) Structure-
Activity Relationships derived from experimental data.
Purge factor:
Purge reflects the ability of a process to reduce the level of an impurity, and the purge
factor is defined as the level of an impurity at an upstream point in a process divided by
the level of an impurity at a downstream point in a process. Purge factors may be
measured or predicted.
Statistical process control:
Application of statistical methodology and procedures to analyze the inherent variability
of a process.
Structural alert:
In the context of this guideline, a chemical grouping or molecular (sub) structure which
is associated with mutagenicity.
TD50:
The dose-rate in mg/kg body weight/day which, if administered chronically for the
standard lifespan of the species, will halve the probability of remaining tumorless
throughout that period.
Threshold:
Categorically, a dose of a substance or exposure concentration below which a stated
effect is not observed or expected to occur.




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APPENDICES

Appendix 1: Scope Scenarios for Application of the ICH M7 Guideline

                             Applies to    Applies Comments
Scenario                     Drug          to Drug
                             Substance     Product
Registration of new drug     Yes           Yes     Primary intent of the M7 Guideline
substances and
associated drug product
Clinical trial               Yes           Yes         Primary intent of the M7 Guideline
applications for new
drug substances and
associated drug product
Clinical trial               No            No          Out of scope of M7 Guideline
applications for new
drug substances for a
anti-cancer drug per ICH
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Clinical trial               Yes           Yes         There may be exceptions on a case
applications for new                                   by case basis for higher impurity
drug substances for an                                 limits
orphan drug
Clinical trial application   No            Yes         Retrospective application of the M7
for a new drug product                                 Guideline is not intended for
using an existing drug                                 marketed products unless there are
substance where there                                  changes made to the synthesis.
are no changes to the                                  Since no changes are made to the
drug substance                                         drug substance synthesis, the drug
manufacturing process                                  substance would not require
                                                       reevaluation. Since the drug
                                                       product is new, application of this
                                                       guideline is expected.
A new formulation of an      No            Yes         See Section 4.2
approved drug substance
is filed
 A product that is           Yes           Yes         As there is no mutual recognition,
previously approved in a                               an existing product in one member
member region is filed                                 region filed for the first time in
for the first time in a                                another member region would be
different member region.                               considered a new product.
The product is
unchanged.
 A new supplier or new       No            No          As long as the synthesis of the drug
site of the drug                                       substance is consistent with
substance is registered.                               previously approved methods, then
There are no changes to                                reevaluation of mutagenic impurity
the manufacturing                                      risk is not necessary. The
process used in this                                   applicant would need to
registered application.                                demonstrate that no changes have
                                                       been made to a previously approved


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                                                      process/product. Refer to Section
                                                      4.1.


An existing product        Yes            Yes         Since the patient population and
(approved after the                                   acceptable cancer risk has changed,
issuance of ICH M7 with                               the previously approved impurity
higher limits based on                                control strategy and limits will
ICH S9) associated with                               require reevaluation. See Section
an advanced cancer                                    4.3.
indication is now
registered for use in a
non-life threatening
indication
New combination            Yes (new       Yes         M7 Guideline would apply to the
product is filed that      drug                       new drug substance. For the
contains one new drug      substance)                 existing drug substance,
substance and an           No                         retrospective application of M7
existing drug substance    (existing                  Guideline to existing products is
(no changes to the         drug                       not intended. For the drug
manufacturing process)     substance)                 product, this would classify as a
                                                      new drug product so the guideline
                                                      would apply to any new or higher
                                                      levels of degradants


Appendix 2: Case Examples to Illustrate Potential Control Approaches

Case 1: Example of an Option 3 Control Strategy
Impurity A: Intermediate X is introduced into the second to last step of the synthesis
and impurity A is routinely detected in the intermediate material X. The impurity A is a
stable compound and carries over to the drug substance. A spike study of the impurity A
with different concentration levels was performed. As a result of these studies, it was
determined that up to 1.0 % of the impurity A in the intermediate material X can be
removed consistently to less than 30% of the TTC, 100 ppm in this case. This purge is
consistent with the determined solubility of the impurity in the process solvents. This
purge ability of the process has been confirmed by determination of any residue of
impurity A in the drug substance in multiple pilot-scale batches and results ranged from
16-29 ppm. Therefore, control of the impurity A in the intermediate material X with an
acceptance limit of 1.0 % is established. As the purge of impurity A is based on the
solubility of the impurity in the process solvents and determined to be scale independent,
submission of data on initial commercial batches would not be expected.
Case 2: Example of an Option 3 Control Strategy: Based on Predicted Purge
from a Spiking Study Using Standard Analytical Methods
Impurity B: A starting material Y is introduced in step 3 of a 5-step synthesis and an
impurity B is routinely detected in the starting material Y at less than 0.1% using
standard analytical methods. In order to determine if the 0.1% specification in the
starting material is acceptable, a purge study was conducted at laboratory scale where
impurity B was spiked into starting material Y with different concentration levels up to
10% and a purge factor of > 500 fold was determined across the final three processing


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steps. This purge factor applied to a 0.1% specification in starting material Y would
result in a predicted level of impurity B in the drug substance of less than 2 ppm. As
this is below the TTC based limit of 50 ppm for this impurity in the drug substance, the
0.1% specification of impurity B in starting material Y is justified without the need for
testing in the drug substance on pilot scale or commercial scale batches.
Case 3: Example of an Option 2 and 4 Control Strategy: Control of Structurally
Similar Mutagenic Impurities
The Step 1 intermediate of a 5-step synthesis is a nitroaromatic compound that may
contain low levels of impurity C, a positional isomer of the step 1 intermediate and also a
nitroaromatic compound. The amount of impurity C in the step 1 intermediate has not
been detected by ordinary analytical methods, but it may be present at lower levels. The
step 1 intermediate is positive in the bacterial mutagenicity assay. The step 2
hydrogenation reaction results in a 99% conversion of the step 1 intermediate to the
corresponding aromatic amine. This is confirmed via in-process testing. An assessment
of purge of the remaining step 1 nitroaromatic intermediate was conducted and a high
purge factor was predicted based on purge points in the subsequent step 3 and 4
processing steps. Purge across the step 5 processing step is not expected and a
specification for the step 1 intermediate at TTC levels was established at the step 4
intermediate (Option 2 control approach). The positional isomer impurity C would be
expected to purge via the same purge points as the step 1 intermediate and therefore will
always be much lower than the step 1 intermediate itself and therefore no testing is
required and an Option 4 control strategy for impurity C can be supported without the
need for any additional laboratory or pilot scale data.
Case 4: Example of an Option 4 Control Strategy: Highly Reactive Impurity
Thionyl chloride is a highly reactive compound that is mutagenic. This reagent is
introduced in step 1 of a 5 step synthesis. At multiple points in the synthesis, significant
amounts of water are used. Since thionyl chloride reacts instantaneously with water,
there is no chance of any residual thionyl chloride to be present in the drug substance.
An Option 4 control approach is suitable without the need for any laboratory or pilot
scale data.
Case 5: Option 1 Control Strategy: Application of Periodic Verification Testing
A mutagenic reagent is used in the last step of a drug substance synthesis. This reagent
is a liquid at room temperature, is not used in excess, and is soluble in reaction and
isolation solvents. A test and acceptance criteria for this reagent is contained in the drug
substance specification due the fact that reagent is used in the final synthetic step. This
impurity was tested for in the first 10 commercial batches and all test results were less
than 5% of the acceptance criteria. In this situation, periodic verification testing could
be accepted.




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